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  6

  7                            UNITED STATES DISTRICT COURT
  8                          CENTRAL DISTRICT OF CALIFORNIA
  9
 10    PAMELA BALL                                   CASE NO. 8:25-cv-00306
                                                     Civil Rights
 11          Plaintiff,
                                                     COMPLAINT FOR PRELIMINARY
 12                                                  AND PERMANENT INJUNCTIVE
                                                     RELIEF AND DAMAGES
 13          v.                                      REGARDING DENIAL OF SERVICE
                                                     DOG AND HANDLER TO EQUALLY
 14                                                  USE AND ENJOY PUBLIC
                                                     ACCOMMODATION:
 15
       KPC HEALTHCARE, INC.;                         1. Violations of Americans with
 16    ORANGE COUNTY GLOBAL                                Disabilities Act of 1990 (42 U.S.C. §
       MEDICAL CENTER, INC.                                12101 et seq.)
 17
                                                     2. Violation of the California Unruh Act
 18          Defendants.                                   (Cal. Civil Code §§ 51 and 52)
 19                                                  3. Violation of the California Disabled
                                                           Persons Act (Cal. Civil Code § 54 et
 20                                                        seq.)
 21
                                                     DEMAND FOR JURY TRIAL
 22

 23         1.     PREFETORY STATEMENT: This is Plaintiff’s third Americans
 24   with Disabilities Act (“ADA”) lawsuit in her lifetime. It does not involve any
 25   architectural barriers, only service dog denial claims. Plaintiff is not a high
 26   frequency litigant pursuant to California state law. Similarly, Plaintiff’s law firm is
 27   not a high frequency litigation firm, and does not represent any high frequency
 28   litigants. Clefton Disability Law represents many different disabled plaintiffs, none

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  1   of whom are high frequency litigants as defined by state law,. Plaintiff PAMELA
  2   BALL complains of Defendants KPC HEALTHCARE, INC.; ORANGE COUNTY
  3   GLOBAL MEDICAL CENTER, INC. and alleges as follows:
  4         2.     INTRODUCTION: Around 4:30 am on December 27, 2024, Plaintiff
  5   received a phone call from her daughter Alyssa who left a voicemail. Alyssa
  6   informed Plaintiff that she was having difficulty breathing, and she was in the
  7   emergency room at Orange County Global Medical Center located at 1001 N.
  8   Tustin Ave, Santa Ana, California 92705. Plaintiff’s daughter told her mother that
  9   she was very frightened and wanted her to come to the hospital to be with her.
 10   Plaintiff knew she had to get to the hospital as soon as she could.
 11         3.     Plaintiff and her service dog Mason left their home and drove to
 12   Orange County Global Medical Center. When they arrived, Plaintiff and Mason
 13   entered the ER and approached the check-in counter. Plaintiff asked the staff
 14   member for an update about Alyssa and asked to see her. Defendants’ employee
 15   told Plaintiff that dogs were not allowed in the ER. Plaintiff informed Defendants’
 16   employee that Mason is a service dog. Defendants’ employee told Plaintiff that a
 17   shift change of hospital staff was imminent and informed Plaintiff that she would
 18   have to wait until the new staff was settled before she would be able to see her
 19   daughter.
 20         4.     Plaintiff waited as patiently as possible, but no one would allow her to
 21   see her daughter or give her any information about her condition. After waiting for
 22   almost an hour and half, Plaintiff again approached the check-in counter to inquire
 23   again about seeing her daughter. Defendants’ employee behind the counter told
 24   Plaintiff that she would not be allowed to enter the ER (beyond the waiting room)
 25   to see her daughter with her service dog. Plaintiff was surprised and asked
 26   Defendants’ employee why. Defendants’ employee told Plaintiff that her daughter
 27   was being treated in a hallway because there were no rooms available, and
 28   Defendants do not allow service dogs to accompany visitors who were visiting

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  1   patients.
  2          5.    Ultimately, Plaintiff’s daughter left Defendants’ ER to be treated at
  3   another hospital. However, while Alyssa was being treated at Orange County
  4   Global Medical Center, Defendants refused to allow Plaintiff to see her daughter
  5   due to the presence of her service dog. Plaintiff was denied equal service by
  6   Defendants because she needs her service dog to equally enjoy the premises
  7   compared with non-disabled persons. Plaintiff was devastated by her interactions
  8   with Defendants. She was worried about her daughter, and Defendants refused to
  9   allow her to see Alyssa.
 10          6.    Defendants’ decision to bar Plaintiff from accompanying her daughter
 11   in the ER because of her service dog contravenes the ADA’s mandate to allow
 12   disabled persons equal enjoyment of the facility and the Department of Justice’s
 13   technical assistance and guidance on the subject of “Service Animals.” In relevant
 14   part, the guidance states:
 15      •   A person with a disability cannot be asked to remove his service
 16          animal from the premises unless: (1) the dog is out of control and the
 17          handler does not take effective action to control it or (2) the dog is not
 18          housebroken. When there is a legitimate reason to ask that a service
 19          animal be removed, staff must offer the person with the disability the
 20          opportunity to obtain goods or services without the animal’s presence.
 21   DOJ 2010 “Service Animal” guidance available at
 22   https://www.ada.gov/resources/service-animals-2010-requirements/ (emphasis
 23   added). Further,
 24          Under the ADA, State and local governments, businesses, and
 25          nonprofit organizations that serve the public generally must allow
 26          service animals to accompany people with disabilities in all areas of
 27          the facility where the public is allowed to go. For example, in a
 28          hospital it usually would be inappropriate to exclude a service animal

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  1         from areas such as patient rooms, clinics, cafeterias, or examination
  2         rooms. However, it may be appropriate to exclude a service animal
  3         from operating rooms or burn units where the animal’s presence may
  4         compromise a sterile environment.
  5   Id. (emphasis in original).
  6         7.     On December 27, 2024, Defendants refused to allow Plaintiff to visit
  7   her daughter in the ER due to the presence of her task trained service dog despite
  8   that her service dog was under her control, task trained, and is housebroken.
  9   Further, Defendants did not cite either of those as reasons for refusing service to
 10   Plaintiff. Defendants simply told Plaintiff that she would not be allowed to see her
 11   daughter in the ER because they do not allow service dogs to accompany visitors
 12   beyond the waiting room in the ER.
 13         8.      Plaintiff may have the need to accompany her daughter to the ER in
 14   the future. However, she cannot do so until the policies of the Hospital are made
 15   accessible to disabled individuals who use service dogs, including revision of its
 16   service dog policies and necessary employee training and/or re-training. Plaintiff
 17   has brought this lawsuit to force Defendants to change their discriminatory and
 18   illegal policies and compensate her for refusing to serve her because she is a
 19   disabled person who needs the assistance of her qualified service dog. Plaintiff
 20   seeks an injunction to protect the rights of all disabled persons, including Plaintiff,
 21   when accompanied by a qualified service dog at Orange County Global Medical
 22   Center.
 23         9.     JURISDICTION: This Court has jurisdiction of this action pursuant
 24   to 28 USC sections 1331 and 1343. This Court has jurisdiction over the claims
 25   brought under California law pursuant to 28 U.S.C. § 1367.
 26         10.    VENUE: Venue is proper in this court pursuant to 28 USC
 27   section 1391(b) and is proper because the real property which is the subject of this
 28   action is located in this district and that Plaintiff’s causes of action arose in this

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  1   district.
  2          11.    INTRADISTRICT: This case should be assigned to the Southern
  3   Division because the real property which is the subject of this action is located in
  4   this intradistrict and Plaintiff’s causes of action arose in this intradistrict.
  5          12.    PARTIES: Plaintiff Pamela Ball is a “qualified” disabled person who
  6   uses the assistance of a service dog to ameliorate her disability. Plaintiff suffers
  7   from an irregular heartbeat which can cause her blood pressure to drop to
  8   dangerously low levels. When her blood pressure drops, she can faint and fall
  9   down unless she takes immediate action to raise her blood pressure or at the very
 10   least get herself to a safe place. Plaintiff’s disability affects her abilities to walk,
 11   stand and think clearly.
 12          13.    Plaintiff relies upon her service dog, a Maltipoo named “Mason” to
 13   assist her with certain tasks including alerting her to any decrease in her blood
 14   pressure so that she can sit down, put her head between her legs, drink water to
 15   hydrate herself before her blood pressure drops to dangerous levels, and take
 16   medication if necessary. In order to alert Plaintiff, Mason is trained to lick
 17   Plaintiff’s calf to alert, then stand on his hind legs and put his front paws on
 18   Plaintiff’s knee until Plaintiff takes action to raise her blood pressure.
 19          14.    Plaintiff trained Mason to perform this task herself. She researched
 20   online regarding the training of service dogs, and then she trained him over the
 21   course of many months. She would do so by bringing him close to her whenever
 22   she was experiencing symptoms of low blood pressure so that he could see and feel
 23   her reactions. Then, Plaintiff would point to her calf to indicate that Mason should
 24   lick her and then gesture for him to put is front paws on her knee. Whenever he did
 25   the task, she would reward him with treats and praise. Mason and Plaintiff have
 26   been working together for over two years. Plaintiff continues to reinforce the
 27   training with Mason daily. Below is a photo Plaintiff and Mason with a vest.
 28

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 15         15.    Plaintiff is a qualified person with a disability as defined under federal
 16   and state law who is substantially limited in the major life activities of walking,
 17   standing, and thinking clearly. 42 U.S.C. § 12102, 29 U.S.C. § 705(9)(B), and
 18   California Government Code § 12926(1).
 19         16.    Defendants KPC HEALTHCARE, INC.; ORANGE COUNTY
 20   GLOBAL MEDICAL CENTER, INC., are and were at all times relevant to this
 21   Complaint the owners, operators, lessors and/or lessees of the subject business
 22   located at 1001 N. Tustin Ave, Santa Ana, California 92705, known as the Orange
 23   County Global Medical Center (“Hospital”). Plaintiff is informed and believes that
 24   each of the Defendants herein is the agent, employee or representative of each of
 25   the other Defendants, and performed all acts and omissions stated herein within the
 26   scope of such agency or employment or representative capacity and is responsible
 27   in some manner for the acts and omissions of the other Defendants in proximately
 28   causing the damages complained of herein.

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  1         17.     The Hospital is a place of “public accommodation” and a “business
  2   establishment” subject to the requirements inter alia of the categories of 42 U.S.C.
  3   section 12181(7) of the Americans with Disabilities Act of 1990, of California Civil
  4   Code sections 51 et seq., and of California Civil Code sections 54 et seq.
  5         18.    FACTUAL STATEMENT: Plaintiff Pamela Ball has been working
  6   with her service dog Mason for approximately two and a half years. Mason is a
  7   Maltipoo who was individually trained by Plaintiff to be a service dog. Plaintiff
  8   has also continued to train Mason to serve her specific needs throughout their
  9   relationship. Mason is specifically trained to assist Plaintiff by alerting her to
 10   changes in her heart rate and blood pressure so that she can get herself to a safe
 11   place in a sitting position in a safe place before her blood pressure drops to
 12   dangerous levels. Prior to working with Mason, Plaintiff was hospitalized several
 13   times due to her blood pressure dropping to low. However, she has not been
 14   hospitalized since working with Mason because he is able to alert her before she
 15   realizes her blood pressure is dropping, and Plaintiff can take certain steps to raise
 16   her blood pressure before it drops too low.
 17         19.    Mason is a working dog; he is not a pet. Mason usually wears a vest
 18   identifying him as a service dog. Plaintiff and Mason have trained extensively
 19   together, and they supplement that training daily. Plaintiff takes Mason everywhere
 20   with her in public. It is important they stay together as much as possible because
 21   (a) Mason provides important services for Plaintiff; and (b) it is part of the training
 22   and bonding requirement that they be together constantly to maintain their bond.
 23   With few exceptions, where Plaintiff goes, Mason goes.
 24         20.    On December 27, 2024, Plaintiff’s daughter Alyssa went to the
 25   emergency room due to shortness of breath. She called her mother at 4:30 a.m.
 26   telling Plaintiff that she could not breath, and that she was in Defendant’s
 27   Emergency Room. Alyssa told Plaintiff that she was scared and asked her to come
 28   to meet her in the ER as soon as possible.

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  1         21.    Scared and worried, Plaintiff immediately took her service dog Mason
  2   with her to see her daughter. She walked into the waiting room and went up to the
  3   counter to ask about her daughter. Plaintiff has been denied entry to public places
  4   unlawfully in the past. She did not want to delay seeing her daughter so she
  5   volunteered to the hospital intake staff that Mason is a service dog.
  6         22.    Staff responded that the hospital nurses and doctors were having a shift
  7   change so she could not see her daughter. Staff made no objections to Plaintiff
  8   waiting in the ER waiting area with her service dog. However, Plaintiff waited
  9   over an hour but was still not called back to see her daughter.
 10         23.    Plaintiff returned to the counter and asked if the shift change was still
 11   going on, and informed staff that she really needed to see her daughter.
 12         24.    Staff then told her that they could not let her back to see her daughter
 13   with her service animal. Plaintiff asked what they meant by this. The staff said that
 14   her daughter was in a hallway not a room so she could not see her daughter with her
 15   service dog. Meanwhile other people who did not have service dogs had been
 16   allowed into the ER to see their family members.
 17         25.    Upset, Plaintiff asked, “How can I know what’s happening with my
 18   kid?” Staff said they would send out a doctor.
 19         26.    The doctor arrived and in an elevated voice nearly shouted, “are you
 20   Alyssa Ball’s mother?” Plaintiff said she was. The doctor then started loudly
 21   discussing Alyssa medical condition in the public waiting room, violating HIPPA
 22   regulations in front of a lobby full of people. Plaintiff asked if there was a place that
 23   they could speak privately because she felt that everyone was watching and could
 24   hear the conversation. The doctor said, “where would you want to go?” Plaintiff
 25   repeated that she preferred to discuss the matter privately, and asked whether he
 26   knew if there was somewhere private they could go to discuss her daughter’s
 27   medical condition. The doctor replied curtly, “do you want the info or not?”
 28   Plaintiff said she did but again asked to discuss it in a private area. The doctor left

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  1   without providing Plaintiff an update on Alyssa’s condition.
  2           27.   Plaintiff went back to the front desk to ask if she could go be with her
  3   daughter because the doctor had not given her information. The staff again said that
  4   she could not take her service dog with her into the ER itself, only the waiting
  5   room.
  6           28.   Upset and still worried about her daughter, Plaintiff intended to
  7   escalate the issue to someone with decision making authority inside the hospital
  8   who could help her. She left and went to her car. She started making phone calls to
  9   the hospital to speak with someone about who could let her into the ER with her
 10   service dog. She was repeatedly transferred to people who were not in the office, so
 11   she could only leave a voicemail.
 12           29.   After some additional time had passed, Plaintiff suddenly saw Alyssa
 13   walking out to the parking lot, wrapped in a blanket. Plaintiff approached her, and
 14   Alyssa went to the back seat of her car. Alyssa said, “I can’t breathe.”
 15           30.   Plaintiff asked why she was being discharged. Alyssa did not know.
 16   Plaintiff received a call from the hospital saying that Alyssa had eloped from the
 17   hospital. Staff informed Plaintiff that they needed their I.V. equipment back and
 18   that they would call the police if Alyssa did not return it. Plaintiff took Alyssa back
 19   to the ER entrance, and staff came out to parking lot and removed the I.V. As a
 20   result of Defendant’s discriminatory actions toward Plaintiff, she was unable to be
 21   with her daughter, directly resulting in Alyssa eloping from the hospital. Alyssa
 22   went to another hospital to receive medical care.
 23           31.   On or about January 9, 2025, Plaintiff learned from her investigator
 24   that her experience at Orange County Global Medical Center was not an isolated
 25   incident. The investigator, who is disabled and also uses a service dog, called the
 26   ER at Orange County Global Medical Center on or about January 9, 2025. She
 27   asked staff whether visitors (not patients) who use service dogs were allowed to
 28   accompany family members who needed treatment in the ER. The employee

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  1   confirmed that it was Defendants’ official policy to allow disabled visitors who use
  2   service dogs into the waiting room in the ER, but not to accompany those visitors
  3   into the treatment area of the ER to attend to their loved ones. The policy excludes
  4   disabled persons who use service dog to ameliorate their disabilities from
  5   accompanying family members/loved ones into the ER itself with their service
  6   dogs. Upon learning that this was official policy and not just a one-time problem,
  7   Plaintiff decided to file this lawsuit so it would not happen to her or other similarly
  8   situated disabled persons.
  9         32.    Plaintiff may have the need to use the services of Orange County
 10   Global Medical Center when she or her daughter have the need for medical care in
 11   the area. However, Plaintiff cannot return until after Defendants have implemented
 12   proper service animal policies and training of its staff. Plaintiff is deterred from
 13   returning to the Hospital until these policies and training are in place.
 14                    FIRST CAUSE OF ACTION:
       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 15                      (42 USC §§ 12101 et seq.)
 16         33.     Plaintiff repleads and incorporates by reference, as if fully set forth
 17   again herein, the factual allegations contained in Paragraphs 1 through 32, above,
 18   and incorporates them herein by reference as if separately repled hereafter.
 19         34.    In 1990 Congress passed the Americans with Disabilities Act after
 20   finding that laws were needed to more fully protect “some 43 million Americans
 21   with one or more physical or mental disabilities; that historically society has tended
 22   to isolate and segregate individuals with disabilities;” that “such forms of
 23   discrimination against individuals with disabilities continue to be a serious and
 24   pervasive social problem”; that “the Nation’s proper goals regarding individuals
 25   with disabilities are to assure equality of opportunity, full participation, independent
 26   living and economic self-sufficiency for such individuals”; and that “the continuing
 27   existence of unfair and unnecessary discrimination and prejudice denies people
 28   with disabilities the opportunity to compete on an equal basis and to pursue those

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  1   opportunities for which our free society is justifiably famous.” 42 U.S.C. §
  2   12101(a).
  3         35.    The ADA provides, “No individual shall be discriminated against on
  4   the basis of disability in the full and equal enjoyment of the goods, services,
  5   facilities, privileges, advantages, or accommodations of any place of public
  6   accommodation by any person who owns, leases, or leases to, or operates a place of
  7   public accommodation.” 42 USC § 12182.
  8         36.    Plaintiff is a qualified individual with a disability as defined in the
  9   Rehabilitation Act and in the Americans with Disabilities Act of 1990.
 10         37.     Orange County Global Medical Center is a public accommodation
 11   within the meaning of Title III of the ADA. 42 U.S.C. § 12181(7)(F).
 12         38.    The ADA prohibits, among other types of discrimination, “failure to
 13   make reasonable modifications in policies, practices or procedures when such
 14   modifications are necessary to afford such goods, services, facilities, privileges,
 15   advantages or accommodations to individuals with disabilities.” 42 U.S.C. §
 16   12182(b)(2)(A)(ii).
 17         39.    Under the “2010 Revised ADA Requirements: Service Animals,” as
 18   published by the United States Department of Justice, and distributed by the DOJ’s
 19   Civil Rights Division, Disability Rights Section, “Generally, title II and title III
 20   entities must permit service animals to accompany people with disabilities in all
 21   areas where members of the public are allowed to go.” ADA 2010 Revised
 22   Requirements, www.ada.gov/service -animals-2010.htm Further,
 23         Under the ADA, State and local governments, businesses, and
            nonprofit organizations that serve the public generally must allow
 24         service animals to accompany people with disabilities in all areas of
            the facility where the public is normally allowed to go. For example,
 25         in a hospital it usually would be inappropriate to exclude a service
            animal from areas such as patient rooms, clinics, cafeterias, or
 26         examination rooms. However, it may be appropriate to exclude a
            service animal from operating rooms or burn units where the animal’s
 27         presence may compromise a sterile environment.
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  1   Ibid., emphasis in original.
  2          40.   Defendants have a policy and practice of denying services to visitors
  3   with service animals at the Hospital. This is contrary to the ADA. The Department
  4   of Justice issued guidance on the subject of “Service Animals.” In relevant part, the
  5   guidance states:
  6      •   A person with a disability cannot be asked to remove his service
  7          animal from the premises unless: (1) the dog is out of control and the
  8          handler does not take effective action to control it or (2) the dog is not
  9          housebroken. When there is a legitimate reason to ask that a service
 10          animal be removed, staff must offer the person with the disability the
 11          opportunity to obtain goods or services without the animal’s presence.
 12   DOJ 2010 “Service Animal” guidance available at
 13   https://www.ada.gov/resources/service-animals-2010-requirements/ (emphasis
 14   added).
 15          41.   On information and belief, as of the date of Plaintiff’s most recent
 16   visits to the Hospital on or about December 27, 2024, Defendants continue to deny
 17   full and equal access to Plaintiff and to discriminate against Plaintiff on the basis of
 18   Plaintiff’s disabilities, thus wrongfully denying to Plaintiff the full and equal
 19   enjoyment of the goods, services, facilities, privileges, advantages and
 20   accommodations of Defendant’s premises, in violation of the ADA.
 21          42.   In passing the Americans with Disabilities Act of 1990 (hereinafter
 22   “ADA”), Congress stated as its purpose:
 23                It is the purpose of this Act
 24          (1) to provide a clear and comprehensive national mandate for the
             elimination of discrimination against individuals with disabilities;
 25          (2) to provide clear, strong, consistent, enforceable standards addressing
             discrimination against individuals with disabilities;
 26
             (3) to ensure that the Federal Government plays a central role in enforcing
 27          the standards established in this Act on behalf of individuals with disabilities;
             and
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  1          (4) to invoke the sweep of congressional authority, including the power to
             enforce the fourteenth amendment and to regulate commerce, in order to
  2          address the major areas of discrimination faced day-to-day by people with
             disabilities.
  3

  4   42 USC § 12101(b).
  5
             43.    As part of the ADA, Congress passed “Title III - Public

  6
      Accommodations and Services Operated by Private Entities” (42 USC § 12181 et

  7
      seq.). The subject property and facility are one of the “private entities” which are

  8
      considered “public accommodations” for purposes of this title, which includes any

  9
      “inn, hotel, motel or other place of lodging...” 42 USC § 12181(7)(A).

 10
             44.    The ADA states that “No individual shall be discriminated against on

 11
      the basis of disability in the full and equal enjoyment of the goods, services,

 12
      facilities, privileges, advantages, or accommodations of any place of public

 13
      accommodation by any person who owns, leases, or leases to, or operates a place of

 14
      public accommodation.” 42 U.S.C. § 12182. The specific prohibitions against

 15
      discrimination include, but are not limited to the following:

 16
      § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory

 17
      to afford an individual or class of individuals, on the basis of a disability or

 18
      disabilities of such individual or class, directly, or through contractual, licensing, or

 19
      other arrangements, with the opportunity to participate in or benefit from a good,

 20
      service, facility, privilege, advantage, or accommodation that is not equal to that

 21
      afforded to other individuals.”

 22
      § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies,

 23
      practices, or procedures when such modifications are necessary to afford such

 24
      goods, services, facilities, privileges, advantages, or accommodations to individuals

 25
      with disabilities...;”

 26
      § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure

 27
      that no individual with a disability is excluded, denied service, segregated, or

 28
      otherwise treated differently than other individuals because of the absence of

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  1   auxiliary aids and services...;”
  2   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and
  3   communication barriers that are structural in nature, in existing facilities... where
  4   such removal is readily achievable;”
  5   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier
  6   under clause (iv) is not readily achievable, a failure to make such goods, services,
  7   facilities, privileges, advantages, or accommodations available through alternative
  8   methods if such methods are readily achievable.”
  9         The acts and omissions of Defendants set forth herein were in violation of
 10   Plaintiff’s rights under the ADA and the regulations promulgated thereunder, 28
 11   C.F.R. Part 36 et seq.
 12         45.      The removal of each of the policy barriers complained of by Plaintiff
 13   as hereinabove alleged, were at all times herein mentioned “readily achievable”
 14   under the standards of sections 12181 and 12182 of the ADA. As noted
 15   hereinabove, removal of each and every one of the policy barriers complained of
 16   herein were already required under California law. In the event that removal of any
 17   barrier is found to be “not readily achievable,” Defendants still violated the ADA,
 18   per section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges,
 19   advantages and accommodations through alternative methods that were “readily
 20   achievable.”
 21         46.      On information and belief, as of the dates of Plaintiff’s encounters at
 22   the premises and as of the filing of this Complaint, Defendants’ actions, policies,
 23   and physical premises have denied and continue to deny full and equal access to
 24   Plaintiff and to other disabled persons who work with service dogs, which violates
 25   Plaintiff’s right to full and equal access and which discriminates against Plaintiff on
 26   the basis of her disabilities, thus wrongfully denying to Plaintiff the full and equal
 27   enjoyment of the goods, services, facilities, privileges, advantages and
 28   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

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  1         47.    Defendants’ actions continue to deny Plaintiff’s rights to full and equal
  2   access by deterring Plaintiff from visiting the Hospital and discriminated and
  3   continue to discriminate against Plaintiff on the basis of her disabilities, thus
  4   wrongfully denying to Plaintiff the full and equal enjoyment of Defendants’ goods,
  5   services, facilities, privileges, advantages and accommodations, in violation of
  6   section 12182 of the ADA. 42 U.S.C. § 12182.
  7         48.    Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections
  8   12188 et seq., Plaintiff is entitled to the remedies and procedures set forth in
  9   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is
 10   being subjected to discrimination on the basis of her disabilities in violation of
 11   sections 12182 and 12183. On information and belief, Defendants have continued
 12   to violate the law and deny the rights of Plaintiff and other disabled persons to “full
 13   and equal” access to this public accommodation since on or before Plaintiff’s
 14   encounters. Pursuant to section 12188(a)(2)
 15         [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)...
            injunctive relief shall include an order to alter facilities to make such
 16         facilities readily accessible to and usable by individuals with disabilities
            to the extent required by this title. Where appropriate, injunctive relief
 17         shall also include requiring the provision of an auxiliary aid or service,
            modification of a policy, or provision of alternative methods, to the
 18         extent required by this title.
 19         49.    Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of
 20   the Civil Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal
 21   Regulations adopted to implement the Americans with Disabilities Act of 1990.
 22   Plaintiff is a qualified disabled person for purposes of § 12188(a) of the ADA who
 23   is being subjected to discrimination on the basis of disability in violation of Title III
 24   and who has reasonable grounds for believing she will be subjected to such
 25   discrimination each time that she may use the property and premises, or attempt to
 26   patronize the Hospital, in light of Defendants’ policies barriers.
 27         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
 28   //

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  1                          SECOND CAUSE OF ACTION:
                VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH
  2            ACT, CIVIL CODE SECTIONS 51 AND 52, AND THE AMERICANS
                      WITH DISABILITIES ACT AS INCORPORATED
  3                          BY CIVIL CODE SECTION 51(f)
  4           50.   Plaintiff re-pleads and incorporates by reference, as if fully set forth
  5   again herein, the allegations contained in Paragraphs 1 through 49 of this
  6   Complaint and incorporates them herein as if separately re-pleaded.
  7           51.   At all times relevant to this action, the Unruh Civil Rights Act,
  8   California Civil Code § 51(b), provided that:
  9           All persons within the jurisdiction of this state are free and equal, and
              no matter what their sex, race, color, religion, ancestry, national origin,
 10           disability, or medical condition are entitled to the full and equal
              accommodations, advantages, facilities, privileges, or services in all
 11           business establishments of every kind whatsoever.
 12           52.   California Civil Code section 52 provides that the discrimination by
 13   Defendants against Plaintiff on the basis of disability constitutes a violation of the
 14   general anti-discrimination provisions of sections 51 and 52.
 15           53.   Each of Defendants’ discriminatory acts or omissions constitutes a
 16   separate and distinct violation of California Civil Code section 52, which provides
 17   that:
 18           Whoever denies, aids or incites a denial, or makes any discrimination
              or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
 19           every offense for the actual damages, and any amount that may be
              determined by a jury, or a court sitting without a jury, up to a maximum
 20           of three times the amount of actual damage but in no case less than four
              thousand dollars ($4,000), and any attorney’s fees that may be
 21           determined by the court in addition thereto, suffered by any person
              denied the rights provided in Section 51, 51.5, or 51.6.
 22

 23           54.   Any violation of the Americans with Disabilities Act of 1990
 24   constitutes a violation of California Civil Code section 51(f), thus independently
 25   justifying an award of damages and injunctive relief pursuant to California law,
 26   including Civil Code section 52. Per Civil Code section 51(f), “A violation of the
 27   right of any individual under the Americans with Disabilities Act of 1990 (Public
 28   Law 101-336) shall also constitute a violation of this section.”

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  1         55.    The actions and omissions of Defendants as herein alleged constitute a
  2   denial of access to and use of the described public facilities by disabled persons
  3   who use service dogs within the meaning of California Civil Code sections 51 and
  4   52. As a proximate result of Defendant’s action and omissions, Defendants have
  5   discriminated against Plaintiff in violation of Civil Code sections 51 and 52, and are
  6   responsible for statutory and compensatory to Plaintiff, according to proof.
  7         56.    FEES AND COSTS: As a result of Defendants’ acts, omissions and
  8   conduct, Plaintiff has been required to incur attorney fees, litigation expenses and
  9   costs as provided by statute in order to enforce Plaintiff’s rights and to enforce
 10   provisions of law protecting access for disabled persons and prohibiting
 11   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
 12   reasonable attorney fees, litigation expenses and costs pursuant to the provisions of
 13   California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is
 14   intended to require that Defendants make their facilities and policies accessible to
 15   all disabled members of the public, justifying “public interest” attorney fees,
 16   litigation expenses and costs pursuant to the provisions of California Code of Civil
 17   Procedure section 1021.5 and other applicable law.
 18         57.    Plaintiff suffered damages as above-described as a result of
 19   Defendants’ violations.
 20         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
 21                        THIRD CAUSE OF ACTION:
                         DAMAGES AND INJUNCTIVE RELIEF
 22               FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC
                      FACILITIES IN A PUBLIC ACCOMMODATION
 23                             (Civil Code §§ 54 et seq.)
 24         58.    Plaintiff re-pleads and incorporates by reference, as if fully set forth
 25   hereafter, the factual allegations contained in Paragraphs 1 through 57 of this
 26   Complaint and all paragraphs of the third cause of action, as plead infra,
 27   incorporates them herein as if separately re-pleaded.
 28         59.    Under the California Disabled Persons Act (CDPA), people with

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  1   disabilities are entitled to the “full and free use of . . . public buildings, . . . public
  2   facilities, and other public places.” Civil Code § 54(a).
  3          60.    Civil Code section 54.1(a)(1) further guarantees the right of “full and
  4   equal access” by persons with to “accommodations, advantages, facilities, medical
  5   facilities, including hospitals, clinics, and physicians' offices…or other places to
  6   which the general public is invited.” Civil Code § 54.1(c) also specifies that,
  7   “individuals with a disability and persons authorized to train service dogs for
  8   individuals with a disability, may take dogs, for the purpose of training them as
  9   guide dogs, signal dogs, or service dogs in any of the places specified in
 10   subdivisions (a) and (b).”
 11          61.    Civil Code section 54.2(a) specifically protects the right of “every
 12   individual with a disability” “to be accompanied by a guide dog, signal dog, or
 13   service dog, especially trained for the purpose, in any of the places specified in
 14   Section 54.1.”
 15          62.    Civil Code section 54.3(b) makes liable “Any person or persons, firm
 16   or corporation who denies or interferes with admittance to or enjoyment of the
 17   public facilities as specified in Sections 54 and 54.1 or otherwise interferes with the
 18   rights of an individual with a disability under Sections 54, 54.1 and 54.2.” This
 19   section also specifies that, “‘[I]nterfere,’ for purposes of this section, includes, but
 20   is not limited to, preventing or causing the prevention of a guide dog, signal dog, or
 21   service dog from carrying out its functions in assisting a disabled person.”
 22          63.    Defendants are also in violation of California Penal Code section
 23   365.5(b) which states:
 24          No blind person, deaf person, or disabled person and his or her specially
             trained guide dog, signal dog, or service dog shall be denied admittance
 25          to accommodations, advantages, facilities, medical facilities, including
             hospitals, clinics, and physicians’ offices, telephone facilities, adoption
 26          agencies, private schools, hotels, lodging places, places of public
             accommodation, amusement or resort, and other places to which the
 27          general public is invited within this state because of that guide dog,
             signal dog, or service dog.
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  1         64.     Orange County Global Medical Center is a public accommodation
  2   within the meaning of the CDPA. On information and belief, Defendants are the
  3   owners, operators, lessors or lessees of the public accommodation.
  4         65.     Defendants made the decision to knowingly and willfully exclude
  5   Plaintiff and her service dog from their public accommodation and thereby deny
  6   Plaintiff’s her right of entrance into their place of business with her service dog. As
  7   a result of that decision Plaintiff has faced the continuing discrimination of being
  8   essentially barred from entering this public accommodation and place of business
  9   based upon Defendants’ exclusion of Plaintiff’s legally protected use of her service
 10   dog. Plaintiff has continued to suffer denial of access to these facilities, and she
 11   faces the prospect of unpleasant and discriminatory treatment should she attempt to
 12   return to these facilities. Plaintiff is unable to return to the Hospital until she
 13   receives the protection of this Court’s injunctive relief, and she has continued to
 14   suffer discrimination on a daily basis since December 27, 2024, all to her statutory
 15   damages pursuant to California Civil Code §§ 54.1, 54.2, and 54.3 and California
 16   Penal Code section 365.5.
 17         66.    INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit
 18   the acts and omissions of Defendants as complained of herein which are continuing
 19   on a day-to-day basis and which have the effect of wrongfully excluding Plaintiff
 20   and other members of the public who are disabled and who require the assistance of
 21   service animals from full and equal access to these public facilities. Such acts and
 22   omissions are the cause of humiliation and mental and emotional suffering of
 23   Plaintiff in that these actions continue to treat Plaintiff as an inferior and second-
 24   class citizen and serve to discriminate against her on the sole basis that Plaintiff is a
 25   person with disabilities who requires the assistance of a service animal.
 26         67.    Plaintiff may have the need to return to patronize Orange County
 27   Global Medical Center but is deterred from returning to use these facilities, because
 28   the lack of access and the significant policy barriers will foreseeably cause her

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  1   further difficulty, discomfort and embarrassment, and Plaintiff is unable, so long as
  2   such acts and omissions of Defendants continue, to achieve equal access to and use
  3   of these public facilities. Therefore, Plaintiff cannot return to patronize the
  4   Hospital and its facilities and is deterred from further patronage until these facilities
  5   are made properly accessible for disabled persons, including Plaintiff and other
  6   disabled individuals who require the assistance of a service animal.
  7         68.    The acts of Defendants have proximately caused and will continue to
  8   cause irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks
  9   injunctive relief as to Defendants’ inaccessible policies. As to the Defendants that
 10   currently owns, operates, and/or leases (from or to) the subject premises, Plaintiff
 11   seeks preliminary and permanent injunctive relief to enjoin and eliminate the
 12   discriminatory practices that deny full and equal access for disabled persons and
 13   those associated with them, and seeks an award of reasonable statutory attorney
 14   fees, litigation expenses and costs.
 15         69.    Wherefore Plaintiff asks this Court to preliminarily and permanently
 16   enjoin any continuing refusal by Defendants to grant full and equal access to
 17   Plaintiff in the ways complained of and to require Defendants to comply forthwith
 18   with the applicable statutory requirements relating to access for disabled persons.
 19   Such injunctive relief is provided by California Civil Code sections 54.1, 54.2 and
 20   55, and other laws. Plaintiff further requests that the Court award damages
 21   pursuant to Civil Code section 54.3 and other law and attorney fees, litigation
 22   expenses, and costs pursuant to Civil Code sections 54.3 and 55, Code of Civil
 23   Procedure section 1021.5 and other law, all as hereinafter prayed for.
 24         70.    DAMAGES: As a result of the denial of full and equal access to the
 25   described facilities and due to the acts and omissions of Defendants in owning,
 26   operating, leasing, constructing, altering, and/or maintaining the subject facilities,
 27   Plaintiff has suffered a violation of her civil rights, including but not limited to
 28   rights under Civil Code sections 54 and 54.1, and has suffered difficulty,

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  1   discomfort and embarrassment, and physical, mental and emotional personal
  2   injuries, all to her damages per Civil Code section 54.3, including general and
  3   statutory damages, as hereinafter stated. Defendants’ actions and omissions to act
  4   constitute discrimination against Plaintiff on the basis that she was and is disabled
  5   and unable, because of the policy barriers created and/or maintained by the
  6   Defendants in violation of the subject laws, to use the public facilities on a full and
  7   equal basis as other persons. The violations have deterred Plaintiff from returning
  8   to attempt to patronize Orange County Global Medical Center and will continue to
  9   cause her damages each day these barriers to access and policy barriers continue to
 10   be present.
 11         71.     Although it is not necessary for Plaintiff to prove wrongful intent in
 12   order to show a violation of California Civil Code sections 54 and 54.1 or of Title
 13   III of the ADA (see Donald v. Café Royale, 218 Cal. App. 3d 168 (1990)),
 14   Defendants’ behavior was intentional. Defendants were aware and/or were made
 15   aware of their duties to refrain from establishing discriminatory policies against
 16   disabled persons, prior to the filing of this complaint. Defendants’ establishment of
 17   their discriminatory policy to deny and restrict entry to persons with service dogs,
 18   and its implementation of such a discriminatory policy against Plaintiff, indicate
 19   actual and implied malice toward Plaintiff and conscious disregard for Plaintiff’s
 20   rights and safety.
 21         72.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and
 22   conduct, Plaintiff has been required to incur attorney fees, litigation expenses, and
 23   costs as provided by statute, in order to enforce Plaintiff’s rights and to enforce
 24   provisions of the law protecting access for disabled persons and prohibiting
 25   discrimination against disabled persons. Plaintiff therefore seeks recovery of all
 26   reasonable attorney fees, litigation expenses, and costs, pursuant to the provisions
 27   of Civil Code sections 54.3 and 55. Additionally, Plaintiff’s lawsuit is intended to
 28   require that Defendants make their facilities accessible to all disabled members of

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  1   the public, justifying “public interest” attorney fees, litigation expenses and costs
  2   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and
  3   other applicable law.
  4         73.      Plaintiff suffered damages as above described as a result of
  5   Defendants’ violations. Damages are ongoing based on their deterrence from
  6   returning to the Hospital.
  7         WHEREFORE, Plaintiff prays for relief as hereinafter stated.
  8                                            PRAYER
  9         Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
 10   forth in this Complaint. Plaintiff has suffered and will continue to suffer
 11   irreparable injury as a result of the unlawful acts, omissions, policies, and practices
 12   of the Defendants as alleged herein, unless Plaintiff is granted the relief she
 13   requests. Plaintiff and Defendants have an actual controversy and opposing legal
 14   positions as to Defendants’ violations of the laws of the United States and the State
 15   of California. The need for relief is critical because the rights at issue are
 16   paramount under the laws of the United States and the State of California.
 17         WHEREFORE, Plaintiff Pamela Ball prays for judgment and the following
 18   specific relief against Defendants:
 19         1.       An order enjoining Defendants, its agents, officials, employees, and all
 20   persons acting in concert with them:
 21               a. From continuing the unlawful acts, conditions, and practices described
 22                  in this Complaint;
 23               b. To modify its policies and practices to accommodate service dog users
 24                  in conformity with federal and state law, and to advise Plaintiff that
 25                  her service dog will not be excluded should she need to enter and
 26                  patronize Orange County Global Medical Center;
 27               c. That the Court issue preliminary and permanent injunction directing
 28                  Defendants as current owners, operators, lessors, and/or lessees and/or

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  1                 its agents of the subject property and premises to modify the above
  2                 described property, premises, policies and related policies and
  3                 practices to provide full and equal access to all persons, including
  4                 persons with disabilities; and issue a preliminary and permanent
  5                 injunction pursuant to ADA section 12188(a) and state law directing
  6                 Defendants to provide facilities usable by Plaintiff and similarly
  7                 situated persons with disabilities and which provide full and equal
  8                 access, as required by law, and to maintain such accessible facilities
  9                 once they are provided and to train Defendants’ employees and agents
 10                 in how to recognize disabled persons and accommodate their rights
 11                 and needs;
 12              d. An order retaining jurisdiction of this case until Defendants have fully
 13                 complied with the orders of this Court, and there is a reasonable
 14                 assurance that Defendants will continue to comply in the future absent
 15                 continuing jurisdiction;
 16         2.      An award to Plaintiff of statutory, actual, general, and punitive
 17   damages in amounts within the jurisdiction of the Court, all according to proof;
 18         3.      An award of civil penalty as against Defendants under California Penal
 19   Code § 365.5(c);
 20         4.      An award to Plaintiff pursuant to 42 U.S.C. § 12205, 29 U.S.C. § 794a,
 21   California Civil Code §§ 52 and 54.3, California Code of Civil Procedure § 1021.5,
 22   and as otherwise permitted by law, of the costs of this suit and reasonable attorneys’
 23   fees and litigation expenses;
 24         5.      An award of prejudgment interest pursuant to Civil Code § 3291;
 25         6.      Interest on monetary awards as permitted by law; and
 26         7.      Grant such other and further relief as this Court may deem just and
 27   proper.
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  1   Date: February 14, 2025                          CLEFTON DISABILITY LAW
  2
                                                          /s/ Aaron M. Clefton
  3                                                    By AARON M. CLEFTON, Esq.
  4                                                    Attorneys for Plaintiff
                                                       PAMELA BALL
  5                                     JURY DEMAND
  6         Plaintiff hereby demands a trial by jury for all claims for which a jury is
  7   permitted.
  8   Date: February 14, 2025                          CLEFTON DISABILITY LAW
  9
                                                          /s/ Aaron M. Clefton
 10
                                                       By AARON M. CLEFTON, Esq.
 11                                                    Attorneys for Plaintiff
                                                       PAMELA BALL
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